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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

Case No.        CV 22-02378-SK                                        Date: October 21, 2022
Title         The Blacklist Online, LLC et al v. Matthew Wagner et al.


Present: The Honorable: Steve Kim, United States Magistrate Judge


                   Connie Chung                                        n/a
                   Deputy Clerk                              Court Reporter / Recorder

        Attorneys Present for Plaintiff(s):            Attorneys Present for Defendant(s):
                 None present                                     None present


Proceedings:           (IN CHAMBERS) SCHEDULING ORDER

      Based on the parties’ Joint Rule 26(f) Report (ECF 16), the Court finds that no
scheduling conference is needed and sets forth the schedule laid out below, which may
be modified only upon a showing of good cause.

 Matter                                            Date
 Last day to hear motion to amend                  November 21, 2022
 pleadings or add parties
 Non-expert discovery cut-off;                     January 23, 2023
 Expert discovery cut-off
 Last day to hear motions                          March 8, 2023
 Last day to conduct ADR Proceedings,              March 20, 2023
 LR 16-15, with an available Magistrate
 Judge who has agreed to mediate for the
 parties
 Trial documents (set one):                        April 24, 2023
 File memo of contentions of fact and law,
 LR 16-4; Exhibit & witness lists, LR 16-5
 6; Status report regarding settlement;
 Motions in limine (no more than 5 per
 side without Court permission)
 Trial documents (set two):                        May 1, 2023
 Lodge pretrial conference order, LR 16-7;
 File oppositions to motions in limine
 Pretrial Conference, LR 16;                       May 10, 2023 at 10:00 AM
 Hearing on motions in limine
 Jury trial (Est. 1-3 days)                        June 13, 2023 at 9:00 AM



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